                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

SHALON LOWE,                                   )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )     Case No. 4:21-CV-00224-BCW
                                               )
THE CHEESECAKE FACTORY                         )
RESTAURANTS, INC.,                             )
                                               )
                       Defendant.              )

                                    ORDER OF DISMISSAL

        Having been notified of the settlement of this case, and it appearing that no issue remains

 for the Court’s determination, it is hereby

        ORDERED the above-styled action is DISMISSED with prejudice. In the event that the

 settlement is not perfected, any party may move to reopen the case, provided that such motion is

 filed within 45 days of the date of this Order. In addition, the Court retains jurisdiction over

 enforcement of the settlement agreed to by the parties.

       IT IS SO ORDERED.




DATED: July 26, 2021
                                                     /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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